    Case 6:21-cv-00039 Document 2-1 Filed on 07/29/21 in TXSD Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           VICTORIA DIVISION

                                                )
 ANNA HARRIS,                                   )
                                                )
               Plaintiff,                       )
                                                )
         v.                                     )
                                                    Case No. 6:21-CV-39
                                                )
 JUSTIN MARR, in his official capacity          )
 as Sheriff of Victoria County, Texas,          )
 and CONSTANCE FILLEY JOHNSON,                  )
 in her official capacity as District           )
 Attorney for Victoria County, Texas,           )
                                                )
               Defendants.                      )
                                                )


                                Declaration of Anna Harris

      1.      My name is Anna Harris, I am over 18 years of age, and I live in Victoria,

Texas.

      2.      I am the founder and director of JUST-US Participatory Defense, a non-

profit organization that receives funding to do participatory-defense work in many

Texas counties, including Victoria. That work consists, among many other things, of

communicating with criminal defendants, their families, and their lawyers to work

for a more just and humane criminal legal system.

      3.      I am a certified paralegal and I often assist attorneys in criminal trials.

      4.      When I visited the Victoria County Courthouse recently, I noticed that

two former courtrooms on the third floor that were used for video visits during the

worst months of the coronavirus pandemic are no longer frequently in use for official



                                            1
    Case 6:21-cv-00039 Document 2-1 Filed on 07/29/21 in TXSD Page 2 of 3




purposes. Instead, I noticed that one of the rooms is used by people in the courthouse

to rest, make phone calls, or wait for other court proceedings. The rooms are open to

any member of the public without ostensible restriction. There are no signs on or in

either room indicating that any part of the rooms is off limits to the public or open to

only certain uses. In that capacity, and in my capacity as a citizen, I often visit the

Victoria County courthouse to work on or observe trials.

      5.     I have frequently visited the empty former courtrooms on the third floor

of the Victoria County Courthouse. For approximately the last year, those rooms have

not been used for court proceedings, but rather for video conferences or just as areas

open to the public.

      6.     In late July 2021, I posted a video on TikTok, a copy of which is cited in

the Complaint in this case. I filmed that video in a third-floor room at the Victoria

County Courthouse that is open to the public. One of my attorneys put that video

online at a new online location for purposes of this case. A true and correct copy of

the video is available for viewing at https://bit.ly/3f3U6vi.

      7.     On July 27, 2021, a Victoria County Sheriff’s Deputy came to my home

and personally handed me a document labeled “Victoria County Sheriff’s Office

Criminal Trespass Warning.” A true and correct copy of what I received (with

personal information redacted) is attached as Exhibit A to this Declaration.

      8.     I have been working with the defendant in State v. Varela, No. 19-04-

31425-D, currently scheduled to commence on August 2, 2021, in the 377th Judicial

District Court, for approximately two years.




                                            2
    Case 6:21-cv-00039 Document 2-1 Filed on 07/29/21 in TXSD Page 3 of 3




      9.     I want to attend the Varela trial.

      10.    I currently cannot attend that trial because if I do I will be arrested,

pursuant to the Criminal Trespass Warning, by a Victoria County Sheriff’s Deputy

and prosecuted by a Victoria County Assistant District Attorney.

      11.    Additionally, I want to speak with several people who are currently

incarcerated in the Victoria County Jail to help them with their cases.

      12.    I cannot do that because if I go to the jail or to the courthouse for a video

visit I will be arrested by a Victoria County Sheriff’s Deputy and prosecuted by a

Victoria County Assistant District Attorney.

      13.    If I am permitted to attend the Varela trial, I intend to sit in the gallery

(ideally next to the defendant’s mother), support the defense team as requested, and

quietly take notes.

      14.    I do not intend to inappropriately disrupt the Varela trial in any way.



I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge. Executed on July 29, 2021.

                                         /s/ Anna Harris

                                         Anna Harris




                                           3
